              Case 4:99-cr-40088-JPG                   Document 92-1 Filed 08/24/05                       Page 1 of 4         Page ID
                                                                  #41
B A O 2451)     (Rev. 12103)Judgment in a Criminal Case for Revacations
                Sheet 1



                                      UNITEDSTATESDISTRICTCOURT
                                             SOUTHERN               District of     ILLINOIS
UNITED STATES OF AMERICA                                                   JUDGMENT IN A CRIMINAL CASE
V.                                                                         (For Revocation of Probation or Supervised Release)


ANGELA SMITH                                                               Case Number:                   4:99CR40088-002-JPG
                                                                           USM Number:                    04981-025


THE DEFENDANT:
     admitted p i l t to violation of condition(s) as alleged in petition                                                        4 m5
                                                                                            ofthe term o f ~ u ~ e r v i s i o 2n . ~ ~ ~

- was found in violation of condition(s)                                                after denial of
The defendant is adjudicated guilty of these violations:

Violation Number                  Nature of Violation                                                           Violation Ended

Statutory                         The defendant admitted and tested positive for cocaine & opiates              06/24/2005
9                                 The defendant had contact with a federal felon without permission             05/18/2005
Special                           The defendant admitted that she consumed alcohol                              07/09/2005



       The defendant is sentenced as provided in pages 2 through                        of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

- The defendant has not violated condition(s)                                       and is discharged as to such violation(s) condition.


                                                         '?
          It is ordered that the defendant must noti the United States attorney for this district within 30 days of any
change of name, residence, or mailing address untl all fmes, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of matenal changes m
economic circumstances.

Defendant's Sac. Sec. No.:     ***-**-6239                                 August 1 1,2005
Defendant's Dateaf Birth:      **-**-I961


Defendant's Residence Address:

Citv: Benton

State: IL 62812                                                            J. Phil Gilbert. District Judge
                                                                           Name and Title of Judge



                                                                           Date
Defendant's Mailing Address:
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                                                                  #42
A 0 245D      (Rev. 12/03 Judgment in a Criminal Case for Revocations
              Sheet 2 Imprisonment
                                                                                                   Judgment - Page 2
DEFENDANT:                     ANGELA SMITH
CASE NUMBER:                   4:99CR40088-002-JPG


                                                              IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term o f : 20 months




           The court makes the following recommendations to the Bureau o f Prisons:




    x The defendant is remanded to the custody of the United States Marshal.
    0
    -      The defendant shall surrender to the United States Marshal for this district:
        1 at                                        rn a.m.       g p.m     on

        rn as notified by the United States Marshal.
           The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        0
        -       before 2 p.m. on

        rn as notified by the United States Marshal.
        rn as notified by the Probation or Pretrial Services Oftice
                                                                        RETURN
I have executed this judgment as follows:




        Defendant delivered on                                                         to

a                                                     with a certified copy of th~s
                                                                                  judgment.



                                                                                                 UNITED STATES MARSHAL


                                                                           BY
                                                                                              DEPUTY UNITED STATES MARSHAL
           Case 4:99-cr-40088-JPG                    Document 92-1 Filed 08/24/05                  Page 3 of 4          Page ID
                                                                #43
A 0 245D    (Rev. 12/03) Judgment in a Criminal Case for Revocations
            Sheet 3 -Supervised Release
                                                                                                  Judgmentqage    3
DEFENDANT:                 ANGELA SMlTH
CASE NUMBER:               4:99CR40088-002-JPG
                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :        12 months




         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Pnsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully pqssess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall subnut to one drug test withm 15 days of release from imprisonment and at least two periodic drug
tests thereafter as d e t e m e d by the court.
0
-    The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
     future substance abuse. (Check, if applicable.)
-    The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)
H
-    The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
     or is a student, as directed by the probation officer. (Check, if applicable.)
13 The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
-
         If this judgment imposes a fme or restitution, it is he a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of t h ~judgment.
                                             s
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                    STANDARD CONDITIONS OF SUPERVISION
      the defendant shall not leave the judicial district without the pe~nussionof the court or probation officer;
      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the fust five days
      of each month,
      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
      the defendant shall support his or her dependents and meet other family responsibilities;
      the defendant shall work regularly at a lawful occupation,unless excused by the probation officer for schooling, training, or other
      acceptable reasons;
      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
      the defendant shall refram tiorn excessive use of alcohol and shall not purchase, possess , use, distribute, or adm@ister any
      controlled substance or any paraphcrnaha rclated to any controlled substances, except as prescribed by a physician;
      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
      the defendant shall not associate with any ersons engaged in criminal activity and shall not associate with any person convicted
      of a felony, unless granted permission too! so by the probation officer;
      the defendant shall pemut a probat~onoficer to \ w t h~rnor her at any nnie at home or elsewhere and shall permit confiscation
      ofany contraband observed in pla~nview of the probat~onofficer,
      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
      off~cer;
      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
      permission of the cowt; and
      as dmcted by the probat~onofficer, the defendant shall notif th~rdpartles of risks that may be occasioned by the defendant's
      cnniinal record or ersonal h~storyor charactensucs and shafi pemut the probation officer to make such not~ticahonsand to
      confirm the defen4ntss comphance w~thsuch nor~ficatwnrequlrernent.
           Case 4:99-cr-40088-JPG                    Document 92-1 Filed 08/24/05               Page 4 of 4        Page ID
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A 0 245D    (Rev. 12/03) Judgment in a Criminal Case for Revacations
            Sheet 3C - Supervised Release
                                                                                               Judgment-Page   4
DEFENDANT:                 ANGELA SMITH
CASE NUMBER:               4:99CR40088-002-JPG

                                      SPECIAL CONDITIONS OF SUPERVISION
  Once the defendant is released from BOP, she shall be placed in a Drug Treatment Program as directed by Probation.
   She shall participate as directed and a pro\wI by the probation officer in treatment for narcotic addiction, drug dependence,
and oy alcohol dependence, which incluies urinalysis or other drug detection mcasures and yhlch may re uire residence and or
participation in a residential treatment facdity. Any partlclpatlon wl1 requlre complete abstinence from a'h alcoholic beverages.
The defendant shall pay for the costs associated wifisubstince abuse c o k e l i n g andlor testing based on a co-pay sli+g feescale
as directed and approved by the United States Probabon Office. Co-pay shall never exceed the total costs of counselmg.
  The defendant shall submit her person, residence, real property, place of business, computer, or vehicle to a search, conducted by
the United States Probation Officers at a reasonable tune and m a reasonable manner, based upon reasonable suspicion of
contraband or evidence of a violation of a condition of supervision. Failure to submit to a search may be grounds for revocation.
The defendant shall tnform any other residents that the premises may be subject to a search pursuant to tlns condition.
